           Case 2:14-cr-00109-TLN Document 45 Filed 09/24/15 Page 1 of 4
     Dustin D. Johnson (SBN: 234008)
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     2701 Del Paso Road, Suite 130-155
2    Sacramento, CA 95835
     Phone: (877) 377-8070
3    Fax: (916) 244-9889
4    Attorney for Keo Seng Saechao
5

6                                 UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8
      THE UNITED STATES OF AMERICA,                      Case No.: CR-S-14-109 TLN
9
                    Plaintiff,                           STIPULATION AND ORDER TO
10                                                       CONTINUE JUDGMENT AND
              vs.                                        SENTENCING
11
      KEO SENG SAECHAO and                               Judge: Hon. Troy L. Nunley
12    PANG SHOUA XIONG,                                  Time: 9:30 a.m.
                                                         Date: November 5, 2015
13
                    Defendants.
14

15
              IT IS HEREBY STIPULATED by and between the parties hereto through their
16
     respective counsel, Matthew Morris, Assistant United States Attorney, Michael Petrik, Counsel
17
     for Pang Xiong, and Dustin D. Johnson, Counsel for Keoseng Saechao, that the judgment and
18
     sentencing hearing date of October 15, 2015 be vacated, and the matter be set for judgment and
19
     sentencing on November 5, 2015 at 9:30 a.m. The reason for this continuance is to allow the
20
     defense additional time to prepare for judgment and sentencing. The draft PSR was provided to
21
     counsel more than one week late.
22
              Mr. Petrik, Ms. Xiong’s attorney agreed to this continuance when contacted by email.
23
              The prosecutor has authorized defense counsel to sign this stipulation on his behalf.
24
              The probation officer has no objection to continuing the judgment and sentencing hearing
25
     to November 5, 2015.
26
     ///
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           The parties agree to the following briefing schedule based on the new Judgment and
2
     Sentencing Date of November 5, 2015.
3
           •   Reply, or Statement of Non-Opposition: October 29, 2015.
4
           •   Motion for Correction of the Presentence Report shall be filed with the Court and
5
               served on the Probation Officer and opposing counsel no later than: October 22,
6
               2015.
7
           •   The Presentence Report shall be filed with the Court and disclosed to counsel no later
8
               than: October 15, 2015.
9
           •   Counsel's written objections to the Presentence Report shall be delivered to the
10
               Probation Officer and opposing counsel no later than: October 8, 2015.
11

12
     Dated: September 23, 2015                          Respectfully submitted,
13

14
                                                        /s/ Dustin D. Johnson
15                                                      Dustin D. Johnson
                                                        Counsel for Keo Seng Saechao
16

17
     Dated: September 23, 2015                          Respectfully submitted,
18

19
                                                        /s/ Michael Petrik (approved via email)
20                                                      Michael Petrik, DFPD
                                                        Counsel for Pang Xiong
21

22
     Dated: September 23, 2015                          BENJAMIN WAGNER
23
                                                        United States Attorney
24

25
                                                        /s/ Matthew Morris (approved via email)
26                                                      MATTHEW MORRIS
                                                        Assistant U.S. Attorney
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     Attorney for Keoseng Saechao
5

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7
                                   UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10    THE UNITED STATES OF AMERICA,                       Case No.: CR-S-14-109 TLN
11                 Plaintiff,                             STIPULATION AND ORDER TO
                                                          CONTINUE JUDGMENT AND
12          vs.                                           SENTENCING
13    KEO SENG SAECHAO and                                Judge: Hon. Troy L. Nunley
      PANG SHOUA XIONG,                                   Time: 9:30 a.m.
14                                                        Date: November 5, 2015
15                  Defendants.
16

17          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that 1) the
18   judgment and sentencing hearing date of October 15, 2015 be vacated, 2) the matter be set for
19   judgment and sentencing on November 5, 2015 at 9:30 a.m, and 3) the following briefing
20   schedule be adopted:
21          •     Reply, or Statement of Non-Opposition: October 29, 2015.
22          •     Motion for Correction of the Presentence Report shall be filed with the Court and served
23                on the Probation Officer and opposing counsel no later than: October 22, 2015.
24          •     The Presentence Report shall be filed with the Court and disclosed to counsel no later
25                than: October 15, 2015.
26          •     Counsel's written objections to the Presentence Report shall be delivered to the
27                Probation Officer and opposing counsel no later than: October 8, 2015.
28   ////



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       Case 2:14-cr-00109-TLN Document 45 Filed 09/24/15 Page 4 of 4

1

2    Dated: September 23, 2015
                                                Troy L. Nunley
3                                               United States District Judge
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